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                                   UNITED STATES BANKRUPTCY COURT
                                               Eastern DISTRICT OF Massachusetts



In re: Shanrock Finance, LLC                                      §                 Case No. 21-10315
                                                                  §
                                                                                    Lead Case No. 21-10315
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 03/29/2024                                                            Petition Date: 03/12/2021



Plan Confirmed Date:09/19/2022                                                       Plan Effective Date: 10/04/2022


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Liquidating Trustee
                                                                                   Name of Authorized Party or Entity




Peter M. Armanetti                                                      Peter M. Armanetti
Signature of Responsible Party                                           Printed Name of Responsible Party
04/03/2024
Date
                                                                        99 Summer Street, Ste 520, Boston, MA 02110
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                            Current Quarter         Effective Date

 a. Total cash disbursements                                                                        $310,166              $5,947,037
 b. Non-cash securities transferred                                                                         $0                   $0
 c. Other non-cash property transferred                                                                     $0                   $0
 d. Total transferred (a+b+c)                                                                       $310,166              $5,947,037

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i
        ii
        iii
        iv
        v
        vi
        vii
        viii
        ix
        x
        xi
        xii
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        xv
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       xliii
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       xlix
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       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
       lix
       lx
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       lxii
       lxiii
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       lxv
       lxvi
       lxvii
       lxviii
       lxix
       lxx
       lxxi

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       xcvii
       xcviii
       xcix
       c
       ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor             Aggregate Total
                                                                                  $86,638    $1,489,588        $86,638    $1,489,587
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         Reimer & Braunstein LLP          Local Counsel                        $0      $161,480             $0       $161,480
       ii        CohnReznick LLP                  Financial Professional               $0      $171,855             $0       $171,855
       iii       Navera Group LLC                 Financial Professional          $21,188      $128,342        $21,188       $128,342
       iv        Murphy & King                    Lead Counsel                    $59,042      $837,538        $59,042       $837,538
       v         Law Office of Loretta Kenna      Local Counsel                        $0       $88,351             $0        $88,351
       vi        Donnelly, Conroy and Gelhaar Local Counsel                            $0        $3,055             $0         $3,055


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       vii      Law Office of James McNulty Local Counsel            $6,409   $67,170      $6,409       $67,170
       viii     Jeffrey Sternklar           Local Counsel               $0     $5,879          $0        $5,879
       ix       Verdolino & Lowery PC       Financial Professional      $0    $14,864          $0       $14,864
       x        MidMarket Management Grp    Financial Professional      $0    $11,053          $0       $11,053
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            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)                        $0

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                      % Paid of
                                                  Payments          Paid Current                                                  Allowed
                                                 Under Plan           Quarter          Paid Cumulative        Allowed Claims       Claims
 a. Administrative claims                                      $0                $0                     $0                  $0          0%
 b. Secured claims                                             $0                $0                     $0                  $0          0%
 c. Priority claims                                            $0                $0                     $0                  $0          0%
 d. General unsecured claims                          $5,000,000            $221,193             $4,355,036         $14,834,116        29%
 e. Equity interests                                           $0                $0                     $0


Part 4: Questionnaire
     a. Is this a final report?                                                                               Yes     No
             If yes, give date Final Decree was entered:                                03/29/2024
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                     Yes     No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



Peter M. Armanetti                                                    Peter M. Armanetti
Signature of Responsible Party                                         Printed Name of Responsible Party
Liquidating Trustee                                                    04/03/2024
Title                                                                  Date




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                                                 Non-Bankruptcy Table 1-50




                                                Non-Bankruptcy Table 51-100




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